Case 1:15-mc-91351-FDS Document 5-1 Filed 10/30/15 Page 1 of 8




              Exhibit A
    Case
     Case1:15-mc-91351-FDS   Document
          3:14-cv-00491-BAJ-SCR       5-1 Filed
                                 Document       10/30/15 Page
                                          1 08/07/14      Page12ofof78




                       UNITED STATED DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA



HDP SELLERS REPRESENTATIVE, LLC                               CIVIL ACTION

                                                              NO. 14-491
VERSUS


OCEANS ACQUISITION, INC.


                                  COMPLAINT

      NOW INTO COURT, through undersigned counsel, comes HDP Sellers

Representative, LLC, which respectfully asserts as follows:

                            Jurisdiction and Venue

                                        1.

      This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. § 1332(a)(diversity). The matter in controversy exceeds $75,000.

                                        2.

      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(a) and

(b). Moreover, defendant Oceans Acquisition, Inc. has waived any objection to

venue in the written Subordinated Promissory Note subject of this Complaint.




                                        1
    Case
     Case1:15-mc-91351-FDS   Document
          3:14-cv-00491-BAJ-SCR       5-1 Filed
                                 Document       10/30/15 Page
                                          1 08/07/14      Page23ofof78




                                     Parties

                                        3.

      Complainant is HDP Sellers Representative, LLC, a Louisiana limited

liability company with its principal place of business in Baton Rouge, Louisiana.

                                        4.

      Made defendant herein is Oceans Acquisition, Inc. (“defendant Oceans

Acquisition”), a Delaware corporation with its principal place of business in

Cambridge, Massachusetts.

                                  Background

                                        5.

      Approximately ten Oceans entities were the owners and operators of

hospitals in Louisiana which provided geriatric and adult behavioral health

services. In or about December 2012, the Oceans entities and the equity interests

of its member/owners were purchased by a company known as General Catalyst

Partners, which formed defendant Ocean Acquisition for purposes of the

acquisition. The purchase was actually styled a merger, in the Agreement and

Plan of Merger (“Merger”) dated November 30, 2012, wherein the “Purchaser”

was designated as defendant Oceans Acquisition, Inc., and the “Sellers” as the

existing Oceans entities (and hospitals) and their respective member/owners. In

the Merger agreement and related documents, a single entity, HDP Sellers

Representative, LLC (“HDP”), was designated as the sole representative for all




                                         2
    Case
     Case1:15-mc-91351-FDS   Document
          3:14-cv-00491-BAJ-SCR       5-1 Filed
                                 Document       10/30/15 Page
                                          1 08/07/14      Page34ofof78




Seller entities and their respective members/owners and was provided with

power of attorney for same.

                                        6.

      In connection with the Merger, the principal financing obtained by

Purchaser was from MCG Capital and was effected through a Senior Credit

Agreement.

                                        7.

      In connection with the Merger, the secondary financing obtained by

Purchaser was from the Sellers and was effected through a Subordinated

Promissory Note (“Note”). The Note was drafted by defendant Oceans

Acquisition and was signed by Oceans Acquisition and HDP on December 27,

2012. A copy of the Note is attached hereto and made a part hereof and marked

as HDP Exhibit 1.

                                        8.

      The Note was subordinated only to the Senior Credit Agreement. The Note

also provided that the principal balance of $3,780,102, and all accrued and

unpaid interest, shall be due and payable in full on June 27, 2018.

                                        9.

      In order to provide protection to Sellers, the Note included the following

covenants, among others:




                                         3
     Case
      Case1:15-mc-91351-FDS   Document
           3:14-cv-00491-BAJ-SCR       5-1 Filed
                                  Document       10/30/15 Page
                                           1 08/07/14      Page45ofof78




       Oceans Acquisition shall not, until the indebtedness under this
       Note is satisfied in full:

             (a)    Permit the ratio of indebtedness (as defined in the
       Senior Credit Agreement), other than any mortgage related
       indebtedness, to Adjusted EBITDA (as defined in the Senior Credit
       Agreement) to be greater than 5.50:1;

                                          …

              (c)     Other than (i) the payment of management fees in
       accordance with the terms of the Management Agreement, (ii) debt
       financing that is pari passu or subordinated to the obligations
       under this Note; provided however, that any debt financing that is
       pari passu shall be paid after the obligations under this Note are
       paid in full, …


                                         10.

       After the Merger, defendant Oceans Acquisitions began to rapidly expand

its operations, including opening several new hospitals in Texas, which adversely

affected the overall financial condition of the Oceans entities, including its short

term cash flow.

                                         11.

       Upon information and belief, defendant Oceans Acquisition loaned

approximately $1.5 million dollars to the Oceans entities in or about June 2014.

Since that time, HDP has been requesting copies of related loan documents,

which have not been provided. Upon information and belief, HDP was falsely

informed by defendant Oceans Acquisition that the loan documents had not been

finalized.




                                          4
    Case
     Case1:15-mc-91351-FDS   Document
          3:14-cv-00491-BAJ-SCR       5-1 Filed
                                 Document       10/30/15 Page
                                          1 08/07/14      Page56ofof78




                                        12.

        Upon information and belief, defendant Oceans Acquisition incurred

additional indebtedness in the amount of $1.5 million and issued a second

promissory note which violated the terms of the Note issued to Sellers by making

the second promissory note senior to the Note and subordinated only to the

Senior Credit Agreement.

                                        13.

        Defendant Oceans Acquisition’s having executed a second promissory note

senior to the Note has endangered, marginalized, and diminished HDP’s position

of being the only secondary indebtedness owed by Oceans Acquisition behind the

Senior Credit Agreement. That action is a material violation of the terms of the

Note.

                                        14.

        Upon information and belief, beginning in the financial quarter ending on

December 31, 2013, defendant Oceans Acquisition permitted the ratio of

Indebtedness to Adjusted EBITDA (as specifically defined in the Senior Credit

Agreement) to be greater than 5.50:1, in violation of the terms of the Note.

                                        15.

        Defendant Oceans Acquisition’s continuing to operate at an

Indebtedness/Adjusted EBITA ratio in excess of the permitted ratio threatens

the ability of defendant Oceans Acquisition to make payments of principal and




                                         5
    Case
     Case1:15-mc-91351-FDS   Document
          3:14-cv-00491-BAJ-SCR       5-1 Filed
                                 Document       10/30/15 Page
                                          1 08/07/14      Page67ofof78




interest on the Senior Credit Agreement, as well as the Note, and therefore

endangers the ability of HDP to collect the principal and interest on the Note.

                                Breach of Contract

                                            16.

        HDP hereby realleges paragraphs 1 through 15. above.

                                            17.

        Defendant Oceans Acquisition has materially breached the terms of the

Note.

                                            18.

        Consequently, HDP must be placed in the position it was in before

defendant Oceans Acquisition breached the contract of indebtedness evidenced

by the Note, that is full payment of the principal amount of $3,780,102, together

with interest from date of first breach through judgment and thereafter until

paid. Pursuant to 6 Del. C. §2301 (c), the rate of interest owed is that provided in

the contract of indebtedness evidenced by the Note, the greater of (a) twelve

percent (12%) per annum (capitalized quarterly) or (b) the interest rate set forth

in the Senior Credit Agreement plus two percent (2%) per annum (capitalized

quarterly).

        WHEREFORE, after due proceedings, HDP Sellers Representative, LLC,

prays that judgment be granted in its favor against defendant Oceans

Acquisitions, Inc. in the amount of $3,780,102, together with interest according

to law, together with all costs of court.




                                            6
    Case
     Case1:15-mc-91351-FDS   Document
          3:14-cv-00491-BAJ-SCR       5-1 Filed
                                 Document       10/30/15 Page
                                          1 08/07/14      Page78ofof78




                                     Respectfully submitted,

                                     HYMEL DAVIS & PETERSEN, L.LC.

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SERVICE INFORMATION

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                                    7
